                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
               v.                               )           No. 14-00193-01-CR-W-DGK
                                                )
KARL ROBERT CARTER,                             )
                                                )
               Defendant.                       )

                            ACCEPTANCE OF GUILTY PLEA AND
                                ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of the United States Magistrate Judge John T.

Maughmer (Doc. 52), to which there has been no timely objection, the plea of guilty by the

Defendant to Count One of the Indictment filed on July 8, 2014, is now accepted and the Defendant

is adjudged guilty of such offense. Sentencing will be set by subsequent order of the Court.


                                                     /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: July 6, 2015




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